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                               STATE OF CONNECTICUT
                                  SUPERIOR COURT
                                        Judicial District of GA 9


                              Docket No.:     ftJ;}./3 ·- c~a~- Dd-- lfq l 5"5~ -.,-

JOHN FLYNN,                                              )
    Petitioner;                                          )
V.                                                       ) Case No.: --------
                                                         )
WHITING FORENSIC HOSPITAL,                               )
    Respondent;                                          )


                     PETITION FOR WRIT OF HABEAS CORPUS
NOW COMES the Petitioner, JOHN FLYNN, a living man, appearing pro se, and via public
record rather than in his proper person due to his abduction, respectfully petitions this Honorable
Court for a writ of habeas corpus pursuant to Conn. Gen. Stat. § 52-466, the Connecticut
Constitution, and the Fifth and Fourteenth Amendments to the United States Constitution,
and states as follows:

I. PARTIES
     1. Petitioner, JOHN FLYNN (the "Petitioner") is a man currently detained at Whiting
        Forensic Hospital, located at 70 O'Brien Drive, Middletown, CT 06457, having been
        involuntarily committed based on a disputed and unsupported finding of cognitive
        incapacity;

     2. Respondent is the administrator or director of WHITING FORENSIC HOSPITAL, who
        has custody of the Petitioner and is the proper party in this action (the "Respondent");

II. JURISDICTION AND VENUE
     3. This Court has jurisdiction pursuant to Conn. Gen. Stat.§ 52-466;

     4. Venue is proper in this judicial district as the Petitioner is confined within its territorial
        jurisdiction;
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III. FACTUAL BACKGROUND

  5. Petitioner was involuntarily committed based on a claim that he lacks cognitive ability,
     despite clear statements from legal and judicial authorities attesting to his competency;

  6. On March 22, 2023, Attorney Samantha M. Perna] confirmed on the court record that
     Petitioner understood the charges, could assist in his own defense, and was competent;
     specifically, she stated "I have spoken to my client Mr. Flynn. He understands the
     charges being brought against him ... he is able to assist me in his defense ... ";

  7. On March 22, 2023, Judge Maria del Pilar Gonzalez of the Connecticut Superior Court
     affirmed that there was insufficient evidence to justify a competency evaluation, citing
     the presumption of competence and the lack of credible evidence to override it;

  8. Petitioner's commitment relies on a mischaracterization of his mental health status and
     was based on subjective claims regarding "conspiracy theories," as well as speculative
     concerns and/or a YouTube video rather than valid psychological evaluation;

  9. Petitioner has been subjected to coercion to take medication and submit to involuntary
     medical procedures, in violation of informed consent protections and international human
     rights standards, including the Nuremberg Code;

  10. Petitioner suffers from diabetes, which is not being adequately treated at the facility,
      placing his physical health in jeopardy;

  11. Petitioner has employment and family obligations and is capable and willing to attend all
      future legal proceedings voluntarily;

  12. Petitioner asserts his rights have been violated under:

         •   42 U.S.C. § 1983 (Deprivation of Rights under Color of Law)

         •   18 U.S.C. §§ 241 & 242 (Conspiracy Against Rights and Deprivation of Rights)

         •   The Connecticut Constitution, Article I, § 9

         •   Jackson v. Indiana, 406 U.S. 715 (1972); and

         •   0 'Connor v. Donaldson, 422 U.S. 563 (1975)

IV. CLAIMS FOR RELIEF

  13. Petitioner asserts that his continued involuntary commitment is:
          • Without due process;
          • Unsupported by competent medical or legal evidence;
          • In violation of his constitutional rights;
          • A form of illegal detention;
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   14. Petitioner further notes that retaliatory actions, surveillance, coercion, or legal harassment
       following this filing will constitute further violations of:
            • The First Amendment;
            • 42 U.S.C. § 1983;
            • 18 U.S.C. §§ 241,242, 1503, and 1512;
   15. Petitioner invokes his inherent right to bodily autonomy and liberty and asserts that
       failure to release him constitutes a trespass, entitling him to restitution for every second
       of unlawful detainment;

V. PRAYER FOR RELIEF

WHEREFORE, Petitioner respectfully requests that this Honorable Court:

   A. Issue a Writ of Habeas Corpus directing the Respondent to bring the Petitioner before the
      Court forthwith;
   B. Schedule a prompt evidentiary hearing;
   C. Declare that Petitioner's continued confinement is unlawful and unconstitutional;
   D. Order the immediate release of the Petitioner from involuntary commitment;
   E. Award appropriate restitution or any other relief the Court deems just and proper;



Respectfully submitted, this day of __   3/
                                         -"-+~._·. _.{__1-1;- 1---' 2025;



                                              On behalf of JOHN FLYNN
